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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                            §
    In re:                                                  § Chapter 11
                                                            §
    DOCUDATA SOLUTIONS, L.C., et al.,                       § Case No. 25-90023 (CML)
                                                            §
                                  Debtors.1                 § (Joint Administration Requested)
                                                            §

     NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF ALL PLEADINGS

             PLEASE TAKE NOTICE that the undersigned hereby appear as counsel for Blue Torch

Finance LLC in its capacity as Blue Torch Facility Agent (“Blue Torch Finance”) in the above-

captioned Chapter 11 cases pursuant to Rules 2002, 3017(a), 9007, 9010 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and requests that copies of any and all notices,

pleadings, motions, orders to show cause, applications, presentments, petitions, memoranda,

affidavits, declarations, and orders, or other documents, filed or entered in these cases, be

transmitted to:

                                              Charles Persons
                                          PAUL HASTINGS LLP
                                      2001 Ross Avenue, Suite 2700
                                            Dallas, Texas 75201
                                         Telephone: (972) 936-7500
                                         Facsimile: (972) 936-7501
                                  Email: charlespersons@paulhastings.com

                                                        -and-

                                               Schlea Thomas
                                           PAUL HASTINGS LLP
                                            600 Travis, 58th Floor
                                            Houston, Texas 77002
                                          Telephone: (713) 860-7300

1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://omniagentsolutions.com/DocuDataSolutions. The Debtors’ mailing
      address for the purposes of these cases is 2701 E. Grauwyler Road, Irving, TX 75061 USA
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                                   Facsimile: (713) 353-3100
                             Email: schleathomas@paulhastings.com

                                               -and-

                             Jayme Goldstein (pro hac vice pending)
                            Matthew Garofalo (pro hac vice pending)
                              Emily Kuznick (pro hac vice pending)
                             Jillian McMillan (pro hac vice pending)
                                      PAUL HASTINGS LLP
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                                jillianmcmillan@paulhastings.com

       PLEASE TAKE FURTHER NOTICE that this request includes not only the notices and

papers referred to in the Bankruptcy Rules and title 11 of the United States Code, but also includes

orders and notices of any application, motion, petition, pleading, request, complaint, or demand,

whether formal or informal, whether written or oral, and whether transmitted or conveyed by mail,

courier service, hand-delivery, telephone, facsimile transmission, electronically, or otherwise filed

with regard to the above cases.

       PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance nor any

prior or later appearance, pleading, claim, or suit shall waive any right of Blue Torch Finance to

(a) have final orders in non-core matters entered only after de novo review by a District Court

judge, (b) trial by jury in any proceeding so triable in this case or any case, controversy, or

proceeding related to this case, (c) have the District Court withdraw the reference in any matter

subject to mandatory or discretionary withdrawal, or (d) any other rights, claims, actions, defenses,

setoffs or recoupments, under agreements, in law, in equity, or otherwise, all of which rights,

claims, actions, defenses, setoffs, and recoupments are expressly reserved.
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Dated: March 4, 2025                  Respectfully submitted,
       Dallas, Texas
                                      /s/ Charles Persons
                                      PAUL HASTINGS LLP
                                      Charles Persons (TX Bar No. 24060413)
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                                      Dallas, Texas 75201
                                      Telephone: (972) 936-7500
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                                      - and -

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                                      - and -

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                                      Counsel to for Blue Torch Finance LLC in its
                                      capacity as Blue Torch Facility Agent
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                                     Certificate of Service

        I certify that on March 4, 2025, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                                    /s/ Charles Persons
                                                    Charles Persons
